C19-1152                               EAB/:cat

                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION - AKRON

 IN RE:                                 )    CHAPTER 7
                                        )
 Jeffrey L Smith                        )    CASE NO. 19-51183
                                        )
        Debtor                          )    JUDGE Alan M. Koschik


        NOTICE OF MOTION FOR RELIEF FROM STAY AND ABANDONMENT

        PROPERTY: 2017 Chevrolet Malibu VIN# 1G1ZE5ST8HF144670

     Wells Fargo Bank, N.A. as Collateral Agent for ACAR Leasing

LTD. dba GM Financial, has filed papers with the Court for Relief

from the Automatic Stay and Abandonment in this bankruptcy case.

     Your Rights May Be Affected.                   You should read these papers

carefully and discuss them with your attorney, if you have one in

this bankruptcy case.            (If you do not have an attorney, you may

wish to consult one.)

     If you do not want the Court to grant relief from the

automatic stay, or if you want the Court to consider your views on

the Motion, then on or before July 31, 2019, you or your attorney

must:

     File with the Court a brief written statement of reasons in

opposition       to   the    Motion,    a    list    of   authorities   upon   which

respondent relies, and, if appropriate, copies of all documentary

evidence which respondent intends to submit in opposition to the




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Motion in addition to the Affidavits required or permitted by the

Federal Rules of Civil Procedure, at:

                               Clerk of Courts
                       United States Bankruptcy Court
                             455 U.S. Courthouse
                             2 South Main Street
                               Akron, OH 44308

     If you mail your response to the Court for filing, you must

mail it early enough so that the Court will receive it on or before

the date stated above.       You must also mail a copy to:

                            Reimer Law Co.
                  30455 Solon Road, Solon, OH 44139
                        Edward A. Bailey, Esq.

     Attend the hearing scheduled to be held on August 7, 2019

at 10:00 a.m. in courtroom 260 at 455 U.S. Courthouse, 2 South

Main Street, Akron, OH, 44308.

     If you or your attorney do not take these steps, the Court

may decide that you do not oppose the relief sought in the

Motion and may enter an Order granting that relief.



Date: July 5, 2019

               /s/ Edward A. Bailey
               Reimer Law Co.
               BY: Edward A. Bailey #0068073
               BY: Richard J. LaCivita #0072368
               BY: Cynthia A. Jeffrey #0062718
               30455 Solon Road
               Solon, Ohio 44139
               Phone: 440-600-5500
               Fax:   440-600-5522
               Attorneys for Creditor
               ebailey@reimerlaw.com




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                         CERTIFICATE OF SERVICE

I certify that on July 5, 2019, a true and correct copy of the
Notice Authorizing Abandonment and Relief from Stay was served:

Via the Court’s Electronic Case Filing System on these entities
and individuals who are listed on the court’s Electronic Mail
Notice List:

1.   Office of the U.S. Trustee at (registered
     address)@usdoj.gov

2.   Marc P Gertz on behalf of the Chapter 7 Trustee's office at
     mpgertz@dayketterer.com

3.   Rebecca J. Sremack, Esq. on behalf of Jeffrey L Smith,
     Debtor, at rebecca@sremacklaw.com

And by regular U.S. mail, postage prepaid, to:

1.   Jeffrey L Smith, Debtor
     700 N Broadway
     Medina, OH 44256-1725



               /s/ Edward A. Bailey
               Reimer Law Co.
               BY: Edward A. Bailey #0068073
               BY: Richard J. LaCivita #0072368
               BY: Cynthia A. Jeffrey #0062718
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               Solon, Ohio 44139
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